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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                       *
                                               *
                                               *
v.                                             *        Criminal No. PJM 05-0179
                                               *
LESTER FLETCHER                                *
                                               *
      Defendant                                *


                                   MEMORANDUM OPINION

          Lester Fletcher, proceeding pro se, has filed a “Motion to Dismiss the Constitutionality of

Titles 18 & 21 U.S.C. Charges on Fifth & Tenth Amendment Grounds & Motion Pursuant to

Rule 35 Illegal Sentence” (“Motion to Dismiss”) [Paper No. 714] and a Motion for Judgment by

Default Pursuant to Rule 55 of the Federal Rules of Civil Procedure (“Motion for Default

Judgment”) [Paper No. 754]. Having considered Fletcher’s motions and the Government’s

response thereto, the Court DENIES these motions.

                                                   I.

          In April 2005, Fletcher was indicted for his role in a multi-county drug conspiracy. The

Grand Jury later returned a Superseding Indictment charging him with fourteen counts of various

drug and money laundering offenses. A jury convicted him of all counts of the Superseding

Indictment and he was sentenced to life imprisonment. The conviction was affirmed on direct

appeal and Fletcher remains in federal custody. In July 2008, Fletcher petitioned this Court to

vacate his conviction pursuant to 28 U.S.C. § 2255, claiming ineffective assistance of counsel.

The Court concluded that his claims were without merit and denied the motion. In 2010, the

Fourth Circuit denied Fletcher’s request for a certificate of appealability and dismissed his

appeal.

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       Once again Fletcher appears before the Court. His Motion to Dismiss consists of two

arguments. First, he argues that the federal criminal jurisdictional statute, 18 U.S.C. § 3231, is

not valid because it was not enacted in accordance with procedures required by Article I of the

Constitution. Second, he contends that he was not indicted by the required number of grand

jurors and that his indictment was not returned in open court. In his Motion for Default

Judgment, Fletcher argues that the Government did not respond to his Motion to Dismiss within

the required time period and that he was never notified of the Government’s request for

additional time to file a response. As a result, he argues that he is entitled to default judgment

under Federal Rule of Civil Procedure 55. Fletcher requests that the Court declare § 3231

unconstitutional, order his immediate release from custody, and expunge all information

regarding his arrest and conviction.

                                                 II.

       There is a threshold issue about the proper characterization of Fletcher’s Motion to

Dismiss. The Motion requests relief pursuant to Federal Rule of Criminal Procedure 35 as well

as coram nobis relief, but the Government argues that the motion is in substance a request for

habeas relief under § 2255.

       The Court agrees with the Government. Fletcher’s motion is properly characterized as a

§ 2255 motion, and neither Rule 35 nor a writ of coram nobis provides an appropriate avenue for

relief. Rule 35 allows a district court to modify a sentence in two circumstances: (1) if the

sentence was the result of an arithmetical or technical error and the modification was requested

within 14 days of sentencing; or (2) upon the Government’s motion if the defendant provided

substantial assistance to the Government in another investigation or prosecution. Neither

circumstance is present here.



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       Coram nobis relief is also inappropriate. A writ of coram nobis is potentially available

when the petitioner has finished serving a prison term but continues to suffer an adverse legal

consequence as a result of the conviction. See Chaidez v. United States, 133 S. Ct. 1103, 1106

n.1 (2013). Coram nobis relief is not available if the petitioner can seek habeas relief under

§ 2255. See United States v. Akinsade, 686 F.3d 248, 252 (4th Cir. 2012). Because Fletcher

remains incarcerated and can seek relief under § 2255, coram nobis relief is inappropriate.

       Recharacterization of a pro se party’s request for relief is appropriate when the party’s

claims do not fall within the limited scope of the cited rule, but are potentially cognizable under

some other rule or statute. See United States v. Little, 392 F.3d 671, 677 (4th Cir. 2004) (holding

that court should recharacterize a pro se petitioner’s Rule 35 claim as a § 2255 claim). Section

2255 explicitly authorizes the court to grant relief when the sentence was imposed in violation of

a constitutional right or if the court was without jurisdiction to impose it. 28 U.S.C. § 2255(a).

Because Fletcher raises both constitutional and jurisdictional claims, characterizing his motion as

a request for relief under § 2255 is consistent with the substance of his claims.

                                                III.

       Because he has previously attempted to obtain habeas relief, Fletcher’s claims are

procedurally barred. Before he can bring a successive habeas petition, he must first get a

certification from the Court of Appeals. 28 U.S.C. § 2255(h). Until he gets the required

certification from the Court of Appeals, this court cannot reach the merits of his claim. In re

Vial, 115 F.3d 1192, 1194 (4th Cir. 1997).

       And, as before, Fletcher is plainly not entitled to a certificate of appealability. In order to

receive permission to file a successive § 2255 motion, the petitioner must demonstrate that the

successive petition either presents “newly discovered evidence that…would be sufficient to



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establish…that no reasonable factfinder would have found the movant guilty of the offense” or

“a new rule of constitutional law, made retroactive to cases on collateral review by the Supreme

Court, that was previously unavailable.” 28 U.S.C. § 2255(h). Fletcher’s assertions that he was

not properly indicted and that § 3231 is invalid do not implicate either exception to the bar on

successive habeas petitions.

       Fletcher sets great store by Bond v. United States, 131 S. Ct. 2355 (2011), which held that

criminal defendants have standing to raise Tenth Amendment challenges to the statutes under

which they are convicted. He suggests that Bond provides a retroactively applicable new rule

that allows him to challenge his conviction. However, even if Bond did create a new rule that

could be applied retroactively, it would only give Fletcher standing to raise a Tenth Amendment

challenge, which he has not done.

                                                IV.

       All this said, even if the court reached the substance of Fletcher’s claims, it would find

his arguments without merit. He argues that because § 3231 was not properly enacted, it is

invalid, and therefore federal courts are without jurisdiction to hear criminal cases. This

contention has been characterized as a “hoax” and “rumor which has spread like wildfire to

prisoners throughout the entire country.” Sainsbury v. Levi, No. 07-cv-4545, 2007 WL 4104097,

at *2 (E.D. Pa. Nov. 16, 2007). While the Fourth Circuit has not yet addressed the issue, every

federal appellate court that has confronted the argument has rejected it. See United States v.

Bogle, 522 F. App’x 15, 21-22 (2d Cir. 2013); United States v. Gonzalez-Arenas, 496 F. App’x

866, 867 (10th Cir. 2012) (characterizing argument as “frivolous”); Wolford v. United States,

362 F. App’x 231, 232 (3d Cir. 2010); United States v. Campbell, 221 F. App’x 459, 461 (7th

Cir. 2007).



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       There are at least three bases for rejecting a challenge to the validity of § 3231. First,

there is no credible evidence to suggest that § 3231 was not properly enacted. See Sainsbury,

2007 WL 4104097, at *2. Second, under the enrolled bill rule, once a bill has been signed into

law, courts cannot examine whether the bill was actually passed by both houses of Congress and

signed by the President. See Field v. Clark, 143 U.S. 649, 672 (1892). See also Bogle, 522

F. App’x at 21-22 (holding that challenge to § 3231 based on the validity of its enactment is

barred by enrolled bill rule). Third, even if § 3231 were not valid, the predecessor jurisdictional

statute would grant the Court jurisdiction over federal criminal cases. United States v. Risquet,

426 F. Supp. 2d 310, 311-12 (E.D. Pa. 2006).

       Fletcher’s claim that he was not properly indicted is also without merit. He simply

asserts that he was not indicted on April 18, 2005 and does not address the fact that he was

indicted again in February 2006. He provides no evidence to support his claim and does little

more than make bald assertions that the 2005 indictment was defective. Fletcher’s contention

that he was not properly indicted is groundless and does not justify relief.

                                                 V.

       Fletcher’s Motion for Default Judgment is also denied. Federal Rule of Civil Procedure

55(d) provides that default judgment may only be entered against the United States “if the

claimant establishes a claim or right to relief by evidence that satisfies the court.” As discussed

above, Fletcher’s claims are without merit and he has not established that he is entitled to relief.

Accordingly, the Motion for Default Judgment must be denied.

                                                 VI.

       For the foregoing reasons, Fletcher’s Motion to Dismiss the Constitutionality of Titles 18

& 21 U.S.C. Charges on Fifth & Tenth Amendment Grounds & Motion Pursuant to Rule 35



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Illegal Sentence [Paper No. 714] and his Motion for Judgment by Default Pursuant to Rule 55 of

the Federal Rules of Civil Procedure [Paper No. 754] are DENIED.

       A separate Order will ISSUE.




                                           _______________/s/__________________
                                                  PETER J. MESSITTE
                                            UNITED STATES DISTRICT JUDGE
March 26, 2014




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